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          IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA

VS.                                                 NO. 4:18-CR-00172-JM

ANDREW SCHERELL


              WRIT OF HABEAS CORPUS AD PROSEQUENDUM

TO THE CUSTODIAL AUTHORITY at the FAULKNER COUNTY SHERIFF’S OFFICE and
TO THE UNITED STATES MARSHAL FOR THE EASTERN DISTRICT OF ARKANSAS:

GREETINGS:

        We command that you surrender the body of ANDREW SCHERELL #53351030 detained
in the FAULKNER COUNTY SHERIFF’S OFFICE, Conway, Arkansas in your custody, under
safe and secure conduct, to the custody of the United States Marshal for the Eastern District of
Arkansas, and the said Marshal is directed to produce the body of the Defendant before this Court
on March 5, 2019 at 1:30 P.M., before the Honorable Jay Moody, and after the proceedings have
been concluded, that you return ANDREW SCHERELL to FAULKNER COUNTY SHERIFF’S
OFFICE under safe and secure conduct.
        IN WITNESS WHEREOF, I have set my hand and the seal of said court, this 26 February
2019.




                                                    ___________________________________
                                                    UNITED STATES MAGISTRATE JUDGE
